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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                        LYNCHBURG DIVISION

CALVIN WESLEY,                                        )
                                                      )
           Plaintiff,                                 )
                                                      )
v.                                                    )       Civil Action: 6:23cv00012
                                                      )
CITY OF LYNCHBURG, and                                )
OFFICER SETH REED, et al.                             )
                                                      )
           Defendants.                                )

                         RULE 26(f) REPORT, JOINT DISCOVERY PLAN, AND
                            STIPULATION REGARDING DISCLOSURES

           Counsel for the parties participated via telephone conference on April 28, 2023 at 2:00 p.m.

for a meeting a required by Fed. R. Civ. P. 26(f) and submit the following report of that meeting

and the parties’ Joint Discovery Plan and Stipulation regarding disclosures.

           1. The following counsel participated in the conference: M. Paul Valois, Esquire for

                   the Plaintiff, Jim Guynn, Esquire for Defendants.

           2. Changes in the timing, form, or requirement for disclosures under Rule 26(a):

                      The parties’ Initial Disclosures under Fed. R. Civ. P. 26(a) will be due May 24,

                       2023.

                      Plaintiff’s Initial Expert Disclosure will be due July 10, 2023.

                      Defendants’ Initial Expert Disclosure will be due July 24, 2023.

           3. Subjects on which discovery may be needed, when discovery should be completed,

                   and whether discovery should be conducted in phase or be limited:

                      The parties do not anticipate any unusual discovery process for this matter. Should

                       any discovery issue arise, the parties will meet and confer as necessary. The parties


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                       will supplement this Discovery Plan, as necessary, as discovery in this matter

                       continues.

           4. Issues about disclosure, discovery, or preservation of electronically stored

                   information, including the form or forms in which it should be produced:

                      The parties do not anticipate any issues related to the disclosure, discovery, or

                       preservation of electronically stored information (“ESI”). The parties may request

                       that any ESI be produced in its native format, if they choose.

           5. Issues about claims of privilege or of protection as trial-preparation materials,

                   including−if the parties agree on a procedure to assert these claims after

                   production−whether to ask the court to include their agreement in an order:

                      The parties do not anticipate any issues but reserve the right seek a Rule 26(f) or

                       other order as may be necessary.

           6. Changes to be made in the limitations on discovery imposed under these rules or

                   by local rule, and what other limitations should be imposed:

                      The parties propose no changes in the limitations on discovery other than as

                       otherwise outlined in this Discovery Plan.

           7. Any other orders that the court should issue under Rule 26(c) or under Rule

                   16(b) and (c):

                      The parties propose a protective order that they have filed. Pursuant to Rule 16(b)

                       and (c), the parties jointly request that the Pretrial Order entered on April 24,

                       2923; be amended to reflect the plan set forth above, specifically with reference to

                       Section 2 above regarding disclosures under Rule 26(a).

(endorsements on next page)


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We ask for this:

                                               By: /s/ Jim H. Guynn, Jr.
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